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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                )
                                         )
             v.                          )       CAUSE NO. 3:12-CR-51 RM
                                         )
 JEFFREY A. SHEPPARD (02)                )


                                     ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on June 20, 2012. Accordingly, the

 court ADOPTS those findings and recommendations [docket # 48], ACCEPTS

 defendant Jeffrey Sheppard’s plea of guilty, and FINDS the defendant guilty of

 Count 1 of the Indictment, in violation of 18 U.S.C. §§ 924(c) and 2.

       SO ORDERED.

       ENTERED:      July 11, 2012



                                  /s/ Robert L. Miller, Jr.
                                Judge, United States District Court
